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                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 20, 2025, I served the foregoing Plaintiff’s Motion for

Leave to file an Amended Complaint on all counsel of record via the Court’s ECF Filing System.



Dated: March 20, 2025

                                                      /s/ William E. Hoese
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